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                                 UNITED STATES DISTRICT COURT
7                               WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
8
     KYLE LYDELL CANTY,                                       )
9                                                Plaintiff,   )
                                                              )   No. 2:16-cv-01655-RAJ-JPD
10                  vs.                                       )
                                                              )   ORDER GRANTING MOTION TO
11   CITY OF SEATTLE, et. al.,                                )   SEAL DOCUMENTS
                                                              )
12                                            Defendants.     )
                                                              )
13

14          THIS MATTER came before the Court through a Motion to Seal Documents brought by

15   King County Defendants. Having reviewed this motion and finding good cause, IT IS HEREBY

16   ORDERED THAT the unredacted versions of the Declaration of Melinda Hasegawa and Exhibit

17   1 to that declaration shall remain filed under seal.

18           SO ORDERED.

19          DATED this 5th day of October, 2017.

20

21                                                  A
                                                    JAMES P. DONOHUE
22                                                  Chief United States Magistrate Judge

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      ORDER GRANTING MOTION TO SEAL
      (2:16-cv01655-RAJ-JPD) - 1
